                       Case 4:14-cr-00005-DPM                       Document 318              Filed 04/28/15         Page 1 of 6
                                                                                                                            FILED
                                                                                                                          U.S. DISTRICT COUR1
A0245B         {Rev. 09/11) Judgment in a Criminal Case                                                               EASTERN DISTRICT ARKANSAS
               Sheet l



                                           UNITED STATES DISTRICT COURJFMES w
                                                                                                                 By:_--+1-+-J't-+--+-~==-=-~
                                                          Eastern District of Arkansas
                                                                                )
               UNITED STATES OF AMERICA                                         )    JUDGMENT IN A CRIMINAL CAS
                                   v.                                           )
                        Christian Martinez                                      )
                                                                                )
                                                                                     Case Number: 4:14-cr-5-DPM-9
                                                                                )     USM Number: 28602-009
                                                                                )
                                                                                )     Lee Short
                                                                                     --- ---------------
                                                                                     Defendant's Attorney
THE DEFENDANT:
[ifpleaded guilty to count(s)           10 of the Superseding Indictment
                                                                                              --· ·-· · · - - - - - - - - - - - - - - - - - - - - -
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guiJty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                              Offense Ended
21 U.S.C. §§ 841(a)(1)              Aiding and Abetting the Distribution of Methamphetamine,

 & (b)(1)(A)                        a Class A Felony                                                              11/13/2013              10



       The defendant is sentenced as provided in pages 2 through                __6_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
!i(count(s)      1                                          n/ is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name. residence,    ,
ormailingaddress until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                4/24/2015
                                                                            Date uflmposition of Judgment



                                                                                Signatu~~--1=~-·- - -

                                                                                D.P. Marshall Jr.       _______U.S. District JUd£j_S_ __
                                                                            Name and Title of Judg.::


                                                                            .
                                                                            Date
                                                                                     ..;l 0   IJir;f_ 'J. 0I {
                                                                                                        ------------------
                       Case 4:14-cr-00005-DPM                  Document 318             Filed 04/28/15        Page 2 of 6
AO 2458     (Rev. 09/l I) Judgment in Criminal Case
            Sheet 2 - Imprisonment


DEFENDANT: Christian Martinez
                                                                                                       Judgment - Page
                                                                                                                         - -2 - of   6

CASE NUMBER: 4:14-cr-5-DPM-9


                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 fifty-seven months.




    if The court makes the following recommendations to the Bureau of Prisons:
 Martinez should participate in an alcohol abuse program and educational and vocational programs during incarceration. The
 Court recommends designation to the closest available facility to Oklahoma City, Oklahoma to facilitate family visitation.


    if The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district
          D   at                                                 0 p.rn.      on

          D as notified by the United States Marshal.

    O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

                                                      , with a certified copy of this judgment.



                                                                                                     UNITED ST ATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                         Case 4:14-cr-00005-DPM                 Document 318             Filed 04/28/15          Page 3 of 6
AO 245B       {Rev. 09/11) Judgment io a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                                           3 - of
                                                                                                           Judgment-Page - -                   6
DEFENDANT: Christian Martinez
CASE NUMBER: 4:14-cr-5-DPM-9
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 two years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anx unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's detem1ination that the defendant poses a low risk of
         future substance abuse. (Check. if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. ffapplicable.}
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, Ifapplicable.)

         The defendant shall comply with the reQIJirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as direc.ted by the probation offi~er, the Bureal} of Prisons, or any state sex offender registration agency in which he or she resides,
         works, 1s a student, or was convicted of a quahfymg offense. (Check, if applicable.}

D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
    I)     the defendant shall not leave the judicial district without the pem1ission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer anv
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;        ·
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any P.ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the prooation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm1ss1on of the court; and

 13)      as directed by the probation officer. the defendant shall notH)' third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09/l l)Judgmcnt in a Criminal Case
          Sheet JC - Supervised Release
                                                                                             Judgment-Page     4     of _ _6__
DEFENDANT: Christian Martinez
CASE NUMBER: 4:14-cr-5-DPM-9

                                        SPECIAL CONDITIONS OF SUPERVISION
 S1) If Martinez is deported immediately after incarceration, the only applicable condition is that he shall not return to the
 United States illegally during the period of his supervised release. If he is not deported immediately, or if he returns legally
 during that period, then he must comply with all standard conditions and all special conditions. Martinez must contact the
 probation office within 72 hours of a legal re-entry into the country.
                      Case 4:14-cr-00005-DPM                         Document 318                 Filed 04/28/15      Page 5 of 6
AO 245B   (Rev. 0911 I) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment- Page __5=---- of        6
DEFENDANT: Christian Martinez
CASE NUMBER: 4:14-cr-5-DPM-9
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                              Fine                                   Restitution
TOTALS            $ 100.00                                                $ 0.00                               $ 0.00



 D The detennination ofrestitution is deferred until             ---
                                                                             . An Amended Judgment in a Criminal Case (AO U5C) will be entered
     after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelx progortioned P,ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 1s·u.s.c. § 3664ti). all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                                 Total Loss*            Restitution Ordered Priority or Percentage




 TOTALS                              $ ______o_.o_o                               $                       0.00


 D    Restitution amount ordered pursuant to plea agreement $
                                                                             -~-----




 D    The defendant must pay interest on restitution and a fine of more than $2,500. unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 36l2(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D   the interest requirement is waived for the             D    fine    D    restitution.

      D the interest requirement for the              D   fine       D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters I09A, 110, 11 OA, and l I 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                      Case 4:14-cr-00005-DPM                     Document 318               Filed 04/28/15            Page 6 of 6
AO 2458    (Rev. 09/t l)Judgment in a Criminal Case
           Sheet 6-Schedule of Payments
                                                                                                               Judgment- Page -~6- of                    6
DEFENDANT: Christian Martinez
CASE NUMBER: 4:14-cr-5-DPM-9

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

A    rJ/ Lump sum payment of$ _10_0_._0_0____ due immediately, balance due
           D not later than                                          , or
           ~ in accordance               D C,         D D,      O      E, or     ri/ F below; or
B    D Payment to begin immediately (may be combined with                      D C.       DD, or       OF below); or
C    O    Payment in equal                           (e.g.. week(v, monthly, quarterly) installments of $                             over a period of
                           (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after the date of this judgment; or

D    O Payment in equal                              (e.g.. weekly. month(v. quarter(v) installments of $                         over a period of
                           (e.g.. months or years), to commence                       (e.g.. 30 or 60 days) after release from imprisonment to a
          term of supervision: or

E    D     Payment during the term of supervised release wi II commence within · - - · - · - - (e.g.. 30 or 60 days; after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri{ Special instructions regarding the payment of criminal monetary penalties:
           If Martinez is unable to pay the special assessment immediately, any unpaid balance will be paid during
           incarceration. During incarceration, Martinez shall pay 50 percent per month of all funds available to him until the
           balance is paid in full.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!?JY penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for a11 payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.                                                                                                                "




 0   The defendant shall pay the cost of prosecution.

 0   The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal.
(SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
